                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:97cr294

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
               vs.                                )           ORDER
                                                  )
ERIC HAILEY PAYNE                     (6)         )
                                                  )

       THIS MATTER IS BEFORE THE COURT on its own motion to continue this matter
from the April 19, 2007 term in the Charlotte Division.

       The hearing on the revocation of supervised release is hereby re-scheduled to
April 25, 2007, at 10:00 a.m. in the Charlotte Division.

       The Clerk is directed to certify copies of this order to defendant, counsel for defendant, to
the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.


                                                      Signed: April 11, 2007




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